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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION



PROCEEDINGS BEFORE MAGISTRATE JUDGE                                 DATE:


CASE NO._                                     INTERPRETER


Tape NO. _     ^


U.S. V.




Counsel for Government


Counsel for Defendant(s)




WITNESSES:




PROCEEDINGS:       INITIAL APPEARANCE
                                                 S DETENTION
                                                         HEARING
                    Govt's motion to un          ictment, granted
      7             ARREST DATE
                    Court summarized charges
          S/        Court advises of deft's Rule 5 rights
                    Financial Affidavit submitted for approval
                    CJA counsel to be appointed
                    Deft, to retain counsel
                    Govt's motion to detain deft, l/^ granted          denied
                    Deft requests continuance to prepare for detention hearing
                    Govt. requests continuance, te prepare for detentjonhearing
      J .           Detention hearing set fort'7"fcffi7 > I &S   ufa / j //w
      </            Order of Temporary Detention pending hearing
                    Govt. adduced evidence, rested
                    Deft, adduced evidence, rested
                    Arguments heard
                    Findings stated from the bench
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                  Order of Detention Pending Trial
                  Court: Orders bond set at



                            Residence/travel restricted to EDVA
                            Pretrial Supervision
                            No drugs, firearms, alcohol
                           _ Maintain/seek employment
                           _ Avoid contact with potential witnesses, victims, etc.
                           _ substance abuse testing and treatment; pay costs
                           _ Electronic monitoring; pay costs
                           _ 3rd party custodian
                           _ Maintain contact with attorney
                           _ Surrender passport             obtain no passport
                           _ If deft pleads guilty or found guilty report to PO
                           _ May report to AUSA as long as attorney is present
                           _ Remain inside and may only leave with approval of Pretrial
                            Additional conditions:




                                                                     xuf




Case set:         Case called:                 Case ended:///^ Total:             5
